Case 2:16-cv-00313-UA-CM Document 174 Filed 11/20/17 Page 1 of 6 PageID 3247



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

DONELL      L.     TILLMAN,
individually and on behalf
of   all  others  similarly
situated,

             Plaintiff,

v.                                 Case No:   2:16-cv-313-FtM-99CM

                                          FILED UNDER SEAL
ALLY FINANCIAL INC.,

             Defendant.


                           OPINION AND ORDER 1

     This matter comes before the Court on plaintiff’s sealed,

unredacted 2 Motion for Reconsideration of Sealed Order (Doc. #166)

filed on October 20, 2017, which seeks reconsideration of this

Court’s Opinion and Order denying plaintiff’s motion to certify a

nationwide    Rule   23(b)(3)   class   and   overruling   objections    to

certain discovery orders of the Magistrate Judge (Doc. #160).

Defendant filed a Response in Opposition (Doc. #170).          Also before

the Court is defendant Ally Financial Inc.’s Motion to Strike

Supplemental Declaration of Robert Biggerstaff (Doc. #164), to


     1 The Opinion and Order is being filed under seal due to the
confidential and proprietary business information contained
herein. See Doc. #40, Stipulated Protective Order.
     2 The motion was initially filed in a redacted version (Doc.
#161) and a duplicate, unredacted version was filed under seal
(Doc. #166). The redacted version will be terminated as
duplicative.
Case 2:16-cv-00313-UA-CM Document 174 Filed 11/20/17 Page 2 of 6 PageID 3248



which plaintiff responded (Doc. #171).               For the reasons set forth

below, the motions are denied.

                                          I.

       The decision to grant a motion for reconsideration is within

the sound discretion of the trial court and may be granted to

correct an abuse of discretion.                  Region 8 Forest Serv. Timber

Purchasers Council v. Alcock, 993 F.2d 800, 806 (11th Cir. 1993).

“The    courts   have    delineated       three     major     grounds   justifying

reconsideration of such a decision: (1) an intervening change in

controlling law; (2) the availability of new evidence; (3) the

need   to   correct     clear    error    or     prevent    manifest    injustice.”

Sussman v. Salem, Saxon & Nielsen, P.A., 153 F.R.D. 689, 694 (M.D.

Fla. 1994).

       “A motion for reconsideration should raise new issues, not

merely readdress issues litigated previously.”                 PaineWebber Income

Props. Three Ltd. P’ship v. Mobil Oil Corp., 902 F. Supp. 1514,

1521 (M.D. Fla. 1995).          The motion must set forth facts or law of

a strongly convincing nature to demonstrate to the court the reason

to reverse its prior decision.                 Taylor Woodrow Const. Corp. v.

Sarasota/Manatee Airport Auth., 814 F. Supp. 1072, 1073 (M.D. Fla.

1993); PaineWebber, 902 F. Supp. at 1521.                  “When issues have been

carefully considered and decisions rendered, the only reason which

should commend reconsideration of that decision is a change in the




                                         - 2 -
Case 2:16-cv-00313-UA-CM Document 174 Filed 11/20/17 Page 3 of 6 PageID 3249



factual or legal underpinning upon which the decision was based.

Taylor Woodrow, 814 F. Supp. at 1072-73.

      A motion for reconsideration does not provide an opportunity

to simply reargue - or argue for the first time - an issue the

Court has already determined.           Court opinions “are not intended

as mere first drafts, subject to revision and reconsideration at

a   litigant's    pleasure.”     Quaker       Alloy   Casting    Co.     v.    Gulfco

Indus., Inc., 123 F.R.D. 282, 288 (N.D. Ill. 1988).                    “The burden

is upon the movant to establish the extraordinary circumstances

supporting      reconsideration.”           Mannings    v.      School        Bd.   of

Hillsborough County, Fla., 149 F.R.D. 235, 235 (M.D. Fla. 1993).

Unless the movant’s arguments fall into the limited categories

outlined above, a motion to reconsider must be denied.

                             II. Reconsideration

      In its previous Opinion and Order (Doc. #160), the Court

denied plaintiff’s Motion for Class Certification finding, inter

alia,   that     plaintiff   failed    to     satisfy   the     commonality         and

predominance requirements under Fed. R. Civ. P. 23(a) and (b)(3).

Plaintiff argues that reconsideration is necessary to correct

clear   error     or   prevent   manifest       injustice.        According         to

plaintiff, if the Magistrate Judge would have compelled Ally to

provide him access to the records Ally relied on in opposition to

class certification, he would have able to rebut Ally’s testimony.

In support, plaintiff submits the Supplemental Declaration of



                                      - 3 -
Case 2:16-cv-00313-UA-CM Document 174 Filed 11/20/17 Page 4 of 6 PageID 3250



Robert Biggerstaff 3 (Doc. #166-1), who sets forth a methodology

for analyzing Ally’s call records, which would purportedly have

supported class certification.

     In his Motion for Reconsideration, plaintiff reargues the

merits of his motion for class certification and objections to the

Magistrate     Judge’s   Order    (Doc.    #128)    and   provides    cases

illustrating when courts have granted class certification, none of

which are controlling on this Court.         Moreover, plaintiff cannot

successfully contend that his arguments are based on new evidence

by submitting the Supplemental Declaration of Robert Biggerstaff. 4

     In   an   attempt   to   circumvent    the    individualized    issues

identified by the Court in its Opinion denying class certification,

plaintiff now seeks to limit the class to those individuals that

are not customers of Ally where a “wrong number” notation was




     3 Mr. Biggerstaff’s first Declaration was provided in support
of plaintiff’s Motion to Compel. (Doc. #47-2.)
     4  Mr. Biggerstaff’s Supplemental Declaration does not
constitute new evidence as plaintiff could have submitted the
report before the Court issued its Opinion and Order, and indeed
Biggerstaff’s first expert report (Doc. #47-2), which was
available to plaintiff at the time of the class certification
briefing, is similar in many ways to the supplemental report.
Mays v. U.S. Postal Serv., 122 F.3d 43, 46 (11th Cir. 1997)
(“[W]here a party attempts to introduce previously unsubmitted
evidence on a motion to reconsider, the court should not grant the
motion absent some showing that the evidence was not available
during the pendency of the motion.”).         In any event, the
supplemental report does not persuade the Court that class
certification would be appropriate or that Judge Mirando’s
discovery order was clearly erroneous or contrary to law.



                                   - 4 -
Case 2:16-cv-00313-UA-CM Document 174 Filed 11/20/17 Page 5 of 6 PageID 3251



included for their phone number. 5          Even if the Court allowed

plaintiff to amend the class definition after certification has

been denied, the Court finds that individualized issues would still

remain and plaintiff has not otherwise shown that he is entitled

to the extraordinary remedy that he seeks.          Thus, his motion for

reconsideration is due to be denied.

                         III. Motion to Strike

     Ally moves to strike the Supplemental Declaration of Robert

Biggerstaff (Doc. #166-1), arguing that the untimely declaration

is testimony from an undisclosed expert who has not provided an

expert report.     Plaintiff responds that if the Court denies the

Motion for Reconsideration, plaintiff will not seek to provide any

expert testimony.      (Doc. #171, p. 4.)      As the Court has denied

reconsideration, it sees no reason to strike a declaration on which

plaintiff will not rely.

     Accordingly, it is hereby

     ORDERED AND ADJUDGED:

     1.    Plaintiff’s Sealed Motion for Reconsideration of Sealed

Order (Doc. #166) is DENIED.




     5 Plaintiff proposes to identify non-customer class members
by comparing data provided by wireless telephone service providers
to the call data in Ally’s customer records. This way, plaintiff
states that the Court’s concerns regarding consent and arbitration
clauses in contractual agreements would be resolved.



                                   - 5 -
Case 2:16-cv-00313-UA-CM Document 174 Filed 11/20/17 Page 6 of 6 PageID 3252



     2.    Plaintiff’s    Redacted    Motion   for   Reconsideration     of

Sealed Order (Doc. #161) is terminated as duplicative.

     3.    Defendant’s Motion to Strike Supplemental Declaration of

Robert Biggerstaff (Doc. #164) is DENIED.

     DONE and ORDERED at Fort Myers, Florida, this             20th     day

of November, 2017.




Copies:
Counsel of Record




                                   - 6 -
